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                                            STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                            DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                              LITIGATION BUREAU


                                          Writer Direct: (518) 776-2293
                                            John.Moore@ag.ny.gov

                                               November 29, 2023


       Hon. Therese Wiley Dancks (via CM/ECF filing)
       Federal Building and U.S. Courthouse
       P.O. Box 7346
       Syracuse, NY 13261-7346

       Re:      Young America's Foundation et al v. Stenger et al
                Northern District of New York – 20-cv-822 (LEK/TWD)

       Dear Judge Dancks:

              This office represents Defendants John Pelletier, Brian Rose and Harvey Stenger (“State
       Defendants”). Judge Kahn recently (Dkt. 261) granted Plaintiffs’ motion to amend the complaint,
       and reinstated individual liability claims against defendants Rose and Stenger. An Amended
       Complaint was filed. (Dkt. 262). This Court set deadlines for an Answer to the Amended
       Complaint for December 5, 2023, with dispositive motions due February 28, 2024. (Dkt. 263).

               The grant of the motion to amend to add individual liability claims has brought to this
       office’s attention that there may be representational issues regarding one or more Defendants in this
       matter. In order to investigate and determine whether there are conflicts which may, or may not,
       require assignment of separate counsel for one or more Defendants, it is respectfully requested that
       Defendants be granted sufficient time to investigate the matter before an Answer is due. This office
       respectfully requests a 30-day extension of the current deadlines to allow time for this investigation.

               I have requested consent to the above from Plaintiffs’ counsel, who have advised that they
       will consent only to an extension to Answer until December 19, 2023, and will not consent to any
       other extensions.

                Thank you for your kind consideration to this request.




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                                                      Respectfully yours,
                                                      s/John F. Moore
                                                      John F. Moore
                                                      Assistant Attorney General
                                                      Bar Roll No. 105188
cc (via ECF): All Counsel




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